                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

FILIBERTO J. GARZA MORENO,                       §
                                                 §
               Plaintiff,                        §
                                                 §
vs.                                              §
                                                 §
                                                 §       Case No.
ALLEGIANT TRAVEL COMPANY,                        §
ALLEGIANT AIR LLC, AND AIRPORT                   §
TERMINAL SERVICES INC.                           §
                                                 §
               Defendants.                       §


                                   NOTICE OF REMOVAL

       COMES NOW, Defendants Allegiant Travel Company and Allegiant Air, LLC

(hereinafter collectively referred to as “Allegiant”), and files this Notice of Removal of the case

Filiberto J. Garza Moreno v. Allegiant Travel Company, Allegiant Air, LLC, and Airport Terminal

Services, Inc., Cause No. C-1977-21-E, filed in the 275th Judicial District Court of Hidalgo County,

Texas, and thereby removes this case to federal court on the ground of diversity jurisdiction under

28 U.S.C. § 1332. Allegiant respectfully alleges as follows:

1.     On May 24, 2021, Plaintiff Filiberto J. Garza Moreno filed his Original Petition in the 275th

Judicial District Court of Hidalgo County, Texas, asserting claims against Allegiant and Airport

Terminal Services, Inc. arising out of an incident which allegedly occurred on June 13, 2019.

2.     The Original Petition, along with the served Citations, is attached hereto as Exhibit “A.”

3.     The docket sheet from the Hidalgo County court records website is attached hereto as

Exhibit “B.”
4.      The Original Petition, Citations and Allegiant’s Original Answer are the only documents

filed in the action to date in state court.

5.      Allegiant was served with the Original Petition and Citations on May 26, 2021. See Ex. A.

Allegiant filed an Original Answer on June 18, 2021, attached hereto as Exhibit “C.”

6.      According to the Original Petition, “Plaintiff Filiberto J. Garza Moreno is an individual

who resides in Brownsville, Cameron County, Texas.” Ex. A at p.1, ¶ 3.

7.      Allegiant Travel Company is a foreign business entity. Allegiant Travel Company is

incorporated in Nevada with its headquarters and principal place of business at 1201 N Town

Center Drive, Las Vegas, Nevada 89144. It has a registered agent in Texas but does not have its

principal place of business in Texas.

8.      Allegiant Air, LLC is a foreign business entity. Allegiant Air, LLC is a single-member

LLC with its sole member as follows: Allegiant Travel Company, a corporation existing under the

laws of the State of Nevada with its principal place of business at 1201 N Town Center Drive, Las

Vegas, Nevada 89144. Ex. D, Declaration of Laura Overton, at ¶ 4(a). Ex. D, Declaration of Laura

Overton at ¶ 3-4.

9.      Airport Terminal Services, Inc. is a foreign business entity. Airport Terminal Services, Inc.

is incorporated in Missouri with its headquarters and principal place of business at 940 Westport

Plaza, Suite 101, St. Louis, Missouri 63146. It has a registered agent in Texas but does not have

its principal place of business in Texas.

10.     The amount in controversy exceeds $75,000. Plaintiff has alleged in his Original Petition

that “Plaintiff is seeking monetary relief from Defendants in the amount of $10,000,000.00.” Ex.

A at p.1, ¶ 2.

11.     Plaintiff demanded a jury trial in state court. Ex. A at p.7, ¶ 18. Defendant additionally

demanded a trial by jury. See Ex. C.
12.    This Court has subject matter jurisdiction over this action because Plaintiff, a citizen of

Texas, is of diverse citizenship from the Defendants, Allegiant, citizens of Nevada and Airport

Terminal Services, Inc., a citizen of Missouri, satisfying the requirements of 28 U.S.C. § 1332.

13.    Allegiant has obtained consent from Airport Terminal Services, Inc. for this action to be

removed, who joins in this removal. Allegiant will be filing its own independent joinder.

14.    Removal of this action is timely because it is being removed within 30 days of service upon

Allegiant on May 26, 2021.

Dated June 21, 2021.


                                             Respectfully submitted,


                                             /s/ Don Swaim
                                             DON SWAIM
                                             State Bar No. 19545200
                                             JOSHUA J. ALEXANDER
                                             State Bar No. 24105506
                                             CUNNINGHAM SWAIM, LLP
                                             4015 Main Street, Suite 200
                                             Dallas, Texas 75226
                                             Telephone:     (214) 646-1495
                                             Facsimile:     (214) 613-1163
                                             dswaim@cunninghamswaim.com
                                             josh@cunninghamswaim.com

                                             ATTORNEYS FOR DEFENDANTS
                                             ALLEGIANT TRAVEL COMPANY AND
                                             ALLEGIANT AIR LLC


                                CERTIFICATE OF SERVICE

        I hereby certify that I have complied with the provisions of the Federal Rules of Civil
Procedure by serving a copy of the foregoing document on this 21st day of June 2021, to all counsel
of record who have entered an appearance in this action.


                                             /s/ Don Swaim
                                             Don Swaim
